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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOSE ANGUIANO
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     2:08-cr-00417-MCE
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER CONTINUING
                                     )     STATUS CONFERENCE
13        v.                         )
                                     )
14   JOSE ANGUIANO, et al.,          )     Date: May 14, 2009
                                     )     Time: 9:00 a.m.
15                  Defendants.      )     Judge: Morrison C. England, Jr.
     _______________________________ )
16
17        It is hereby stipulated between the parties, Jason Hitt, Assistant
18   United States Attorney, attorney for plaintiff; Danny D. Brace, Jr.,
19   attorney for defendant FERNANDO MURGUIA-OCHOA; Dina Lee Santos,
20   attorney for MIGUEL ZEPEDA-LOPEZ; Mary M. French, Supervising Assistant
21   Federal Defender, attorney for defendant JOSE ANGUIANO; Dan Frank
22   Koukol, attorney for MARIO SARRANO-ABURTO; and, Thomas A. Johnson,
23   attorney for JOSHUA ORTEGA, that the Status Conference hearing date of
24   March 26, 2009, be vacated and a new Status Conference hearing date of
25   May 14, 2009, at 9:00 a.m. be set.
26        The continuance is requested because defense counsel is in the
27   process of conducting investigation and research, and needs more time
28   to complete these tasks.
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1         It is further stipulated that the period from March 26, 2009,
2    through and including May 14, 2009, should be excluded pursuant to 18
3    U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of
4    counsel and defense preparation.
5    Dated: March 24, 2009                  Respectfully submitted,
6                                           DANIEL J. BRODERICK
                                            Federal Defender
7
                                            /s/ Mary M. French
8
                                            MARY M. FRENCH
9                                           Supervising Assistant
                                            Federal Defender
10                                          Attorney for Defendant
                                            JOSE ANGUIANO
11
12
     Dated: March 24, 2009                  /s/ Mary M. French for
13                                              Danny D. Brace, Jr.
14                                          DANNY D. BRACE, JR.
                                            Attorney for Defendant
15                                          FERNANDO MURGUIA-OCHOA
16
     Dated: March 24, 2009                  /s/ Mary M. French for
17                                              Dina Lee Santos
18                                          DINA LEE SANTOS
                                            Attorney for Defendant
19                                          MIGUEL ZEPEDA-LOPEZ
20
     Dated: March 24, 2009                  /s/ Mary M. French for
21                                              Dan Frank Koukol
22                                          DAN FRANK KOUKOL
                                            Attorney for Defendant
23                                          MARIO SARRANO-ABURTO
24
     Dated: March 24, 2009                  /s/ Mary M. French for
25                                              Thomas A. Johnson
26                                          THOMAS A. JOHNSON
                                            Attorney for Defendant
27                                          JOSHUA ORTEGA
28


                                            2
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1    Dated: March 24, 2009                  LAWRENCE G. BROWN
                                            Acting United States Attorney
2
                                            /s/ Mary M. French for
3                                               Jason Hitt
4                                           JASON HITT
                                            Assistant U.S. Attorney
5
6                                      O R D E R
7    IT IS SO ORDERED.
8
9    Dated: March 26, 2009

10
                                          _____________________________
11                                        MORRISON C. ENGLAND, JR.
12                                        UNITED STATES DISTRICT JUDGE

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